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                         Exhibit 22
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 1                UNITED STATES DISTRICT COURT
                 EASTERN DISTRICT OF LOUISIANA
 2
 3     IN RE:    OIL SPILL           )     MDL NO. 2179
       by the OIL RIG,               )
 4     DEEPWATER HORIZON in          )     SECTION "J"
       the GULF OF MEXICO,           )
 5     April 20, 2010                )     JUDGE BARBIER
                                     )
 6                                   )     MAG. JUDGE
                                     )     SHUSHAN
 7
 8
 9
10                            VOLUME 2
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18
19          Deposition of MELVYN WHITBY, taken at
       Pan-American Building, 601 Poydras Street,
20     11th Floor, New Orleans, Louisiana, 70130, on
       July 19, 2011.
21
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23
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25



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         1   the operating life for a BOP?
         2         A.   I've not been part of any discussions
         3   regarding -- regarding a life cycle such as that.
         4         Q.   Okay.   If you can turn to Tab 20 in the
08:39    5   binder in front of you, and if you can pull that
         6   document, I'll put a deposition exhibit sicker on
         7   it.    Oh, actually, we don't need to.          Tab 20 was
         8   previously identified as Deposition Exhibit 3186.
         9              Are you familiar with Deposition Exhibit
08:40 10     3186?
        11         A.   Yes, sir.
        12         Q.   And this is an article that you wrote in
        13   and published in May -- June 2007 with the title:
        14   Design Evolution of a Subsea BOP.
08:40 15                Is that correct?
        16         A.   That is the title, yes.
        17         Q.   And this was published in Drilling
        18   Contractor; is that right?
        19         A.   Yes, it was.
08:40 20           Q.   And you are the author of this article,
        21   correct?
        22         A.   Yes, sir.
        23         Q.   And I'd like to draw your attention to
        24   the first page of the article in the second
08:40 25     column and the last paragraph on that section.


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         1   The second sentence reads:         In all cases,
         2   however, when the BOP is called on to function in
         3   an emergency situation, it is the main barrier
         4   protecting human life, capital equipment, and the
08:41    5   environment.      Therefore, it must function without
         6   fail.
         7             And did I read that correctly?
         8        A.   You did.
         9        Q.   And those are your words, correct?
08:41 10          A.   Those are my words.
        11        Q.   And when Cameron designs and develops
        12   BOPs, it does so with the understanding that
        13   those BOPs will be called upon to function in an
        14   emergency situation, correct?
08:41 15          A.   Given the -- given that all of the
        16   barriers are nonfunctional and -- it is the last
        17   barrier.
        18        Q.   And one of those emergency situations in
        19   which Cameron understands that the BOP will be
08:41 20     called upon is when there is a loss of well
        21   control; is that right?
        22                    MR. JONES:     Object to form.
        23        A.   It is one of the tools that the drilling
        24   contractor can use in the -- for the purpose of
08:42 25     well control.


                        PURSUANT TO CONFIDENTIALITY ORDER
